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4        Entered on Docket
         June 03, 2020
     ___________________________________________________________________
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9
      KATHLEEN A. LEAVITT
10    CHAPTER 13 BANKRUPTCY TRUSTEE
      711 South 4th Street, Suite 101
11    Las Vegas, Nevada 89101
      Telephone: (702) 853-0700
12
      Email: kal13mail@las13.com
13
                                    UNITED STATES BANKRUPTCY COURT
14
                                              DISTRICT OF NEVADA
15
      In re:                                              )       Case No. BK – 19-12664-abl
16                                                        )       Chapter 13
      DIVINA AQUINO,                                      )
17                                                        )       Confirmation Hearing:
                                    Debtor(s).            )       Date: May 27, 2020
18                                                        )       Time: 9:30 a.m.
19     ORDER DENYING CONFIRMATION OF DEBTOR(S) PROPOSED CHAPTER 13 PLAN #2
20
               The hearing regarding confirmation of the Debtor(s) proposed Chapter 13 Plan #2 was held on the
21
      date and time above-captioned; notice of said hearing was properly given and the Trustee having filed an
22
      Opposition thereto; Danielle N. Gueck-Townsend, Esq., having appeared for the Trustee and Jennifer Isso,
23
      Esq. appearing for the Debtor. All Findings of Fact and Conclusions of Law as stated on the record are
24

25    incorporated herein. Now, therefore;

26             IT IS HEREBY ORDERED that confirmation of the Debtor(s) proposed Chapter 13 Plan #2 is
27    DENIED for failure to comply with 11 U.S.C. § 1325(a)(1) and (3).
28
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1    Submitted by:
2    /s/ Danielle N. Gueck-Townsend
3    DANIELLE N. GUECK-TOWNSEND, ESQ.
     Nevada Bar No. 12164
4    711 South 4th Street, Suite 101
     Las Vegas, Nevada 89101
5    Attorney for Kathleen A. Leavitt,
     Chapter 13 Bankruptcy Trustee
6    Dated:         06/01/20
7

8    LR 9021 CERTIFICATION:

9    In accordance with LR 9021, an attorney submitting this document certifies as follows:
10
             The court has waived the requirement set forth in LR 9021(b)(1).
11
              No party appeared at the hearing or filed an objection to the motion.
12
       X     I have delivered a copy of this proposed order to all attorneys who appeared at the hearing, and each
13   has approved or disproved the order, or failed to respond, as indicated below:
14
     ISSO AND HUGHES LAW FIRM                                      Approved:
15                                                                 Disapproved:              X
                                                                   Failed to Respond:
16   JENNIFER ISSO, ESQ.
     Nevada Bar No. 13157
17   2470 Saint Rose Parkway, Suite 306F
     Henderson, Nevada 89074
18
     Attorneys for Debtor Divina Aquino
19   Dated:         06/01/20
     [Served Via Email: ji@issohugheslaw.com on 5/27/20 for signature]
20
            I certify that this is a case under chapter 7 or 13, that I have served a copy of this order with the
21   motion pursuant to LR 9014(g), and that no party has objected to the form or content of the order.
22                                                         2
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